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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ERIC WHITE, on behalf of himself and all
others similarly situated,
                                                    Civil Action No. 1:19-cv-00114
               Plaintiff,
                                                    Judge Charles Norgle
       v.

UNITED AIRLINES, INC. and UNITED
CONTINENTAL HOLDINGS, INC.,

               Defendants.


            MOTION OF DEFENDANTS UNITED AIRLINES, INC. AND UNITED
                   CONTINENTAL HOLDINGS, INC. TO DISMISS
                      PLAINTIFF’S AMENDED COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants United Airlines, Inc.

(“United”) and United Continental Holdings, Inc. (“UCH”) move to dismiss Plaintiff’s Amended

Complaint in its entirety. Taking all well-pleaded allegations as true, Plaintiff’s Amended

Complaint fails for several reasons.

       First, in Count I, Plaintiff argues that because United provides its employees with paid

jury duty and sick leave, USERRA § 4316(b)(1) requires that it provide paid “short-term”

military leave as well. Count I should be dismissed as a matter of law because USERRA does

not provide for the paid military leave Plaintiff seeks. Count I should be dismissed for the

separate reason that UCH is not Plaintiff’s employer within the meaning of USERRA. Second,

Count II should be dismissed because Plaintiff did not plausibly allege a violation of 38 U.S.C.

§ 4316(b)(1), where he has not identified any participant of the UCH Profit Sharing Plan who

was “credited” for unpaid leave in the calculation of their profit sharing award, and thus cannot

show he was treated differently than similarly-situated Plan participants. Third, Count III should
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be dismissed because, as established by the allegations of Plaintiff’s Amended Complaint and the

documents incorporated therein, the UCH Profit Sharing Plan is not an employee pension benefit

plan subject to USERRA § 4318.

       For these reasons, as detailed in their Memorandum of Law in Support of the Motion of

Defendants United Airlines, Inc. and United Continental Holdings, Inc. to Dismiss, Defendants

request that this Court dismiss Plaintiff’s Amended Complaint with prejudice.



 Dated: April 19, 2019                       Respectfully submitted,


                                             s/ Michael J. Gray
                                             Michael J. Gray (6210880)
                                             Alice V. Brathwaite (6312407)
                                             Ann-Marie Woods (6321757)
                                             JONES DAY
                                             77 West Wacker
                                             Chicago, IL 60601-1692
                                             Telephone: (312) 782-3939
                                             Facsimile: (312) 782-8585
                                             mjgray@jonesday.com
                                             abrathwaite@jonesday.com
                                             awoods@jonesday.com

                                             Douglas W. Hall (pro hac vice pending)
                                             JONES DAY
                                             51 Louisiana Avenue, N.W.
                                             Washington, D.C. 200001
                                             Telephone: (202) 879-3939
                                             Facsimile: (202) 626-1700
                                             dwhall@jonesday.com

                                             Attorneys for Defendants United Airlines, Inc.
                                             and United Continental Holdings, Inc.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 19, 2019, I electronically filed the foregoing Motion of

Defendants United Airlines, Inc. and United Continental Holdings, Inc. to Dismiss Plaintiff’s

Amended Complaint with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to all counsel of record.



                                                   s/ Michael J. Gray
                                                   One of the Attorneys for Defendants
